                Case:20-01947-jwb      Doc #:199-3 Filed: 07/24/2020      Page 1 of 5




                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF MICHIGAN

    In re:
                                                              Chapter 11
    BARFLY VENTURES, LLC, et al,1                             Case No. 20-01947-jwb
                                                              Hon. James W. Boyd
                            Debtors.
                                                              Jointly Administered

    ______________________________________/

    ORDER GRANTING DEBTORS’ SECOND OMNIBUS MOTION FOR ENTRY OF AN
     ORDER REJECTING CERTAIN UNEXPIRED LEASES AND TO ABANDON ANY
     REMAINING PERSONAL PROPERTY LOCATED AT THE LEASED PREMISES

             Upon consideration of Debtors’ Second Omnibus Motion for Entry of an Order Rejecting

Certain Unexpired Leases and to Abandon any Remaining Personal Property Located at the

Leased Premises (the “Motion”)2 of the the above-captioned debtors and debtors-in-possession

(the “Debtors”) for entry of an order, pursuant to section 365 of Bankruptcy Code; and it appearing

that this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it

appearing that this proceeding is a core proceeding pursuant to 28 U.S.C. §§ 1408 and 1409; and

adequate notice of the Motion having been given; and it appearing that no other notice need be




1
  The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and
Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant
Saloon)(4255).
2
  Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the
Motion.
            Case:20-01947-jwb         Doc #:199-3 Filed: 07/24/2020         Page 2 of 5




given; and after due deliberation and sufficient cause appearing therefore, IT IS HEREBY

ORDERED THAT:

       1.       The Motion is GRANTED to the extent set forth herein.

       2.       The Rejected Leases listed on Exhibit A attached hereto are rejected effective as

of the date indicated on Exhibit A.

       3.       The Debtors are authorized to abandon any Remaining Personal Property located

in the Leased Premises underlying the Rejected Leases pursuant to 11 U.S.C. § 554(a).

       4.       Within three (3) business days after entry of this Order, the Debtors will serve this

Order on the Counterparty to each Rejected Lease.

       5.       The Counterparty to the Rejected Lease must file a claim under section 502 of the

Bankruptcy Code or other claims in connection with such Rejected Lease or the rejection, breach

or termination of such Rejected Lease on or before the general claims bar date to be established

by order of the Court, failing which such claim or claims by the Counterparty will be forever

barred. For the avoidance of doubt, nothing contained herein is intended to limit or otherwise

affect the amount or type of claims that may be asserted by a Counterparty to a Rejected Lease

against the Debtors.

       6.       The Debtors and any other party-in-interest reserve all rights to contest any such

rejection damage claim and to contest the characterization of each Rejected Lease, as executory or

not, and to contest whether such Rejected Lease may have terminated prior to the Petition Date, or

otherwise. For the avoidance of doubt, nothing contained herein limits or otherwise affects the

claims or defenses of the Counterparties to the Rejected Leases and all such claims and defenses

are reserved.
               Case:20-01947-jwb      Doc #:199-3 Filed: 07/24/2020          Page 3 of 5




         7.      Notwithstanding anything to the contrary contained in the Motion or this Order, the

rights and claims of the Counterparties to the Rejected Leases with respect to third parties are

unaffected and reserved.

         8.      The Debtors do not waive any claims that they may have against the Counterparty

to any Rejected Lease, whether or not such claims are related to such Rejected Lease.

         9.      Notwithstanding the possible applicability of Rules 6004(g), 7062, or 9014 of the

Federal Rules of Bankruptcy Procedure, or otherwise, the terms and conditions of this Order is

immediately effective and enforceable upon its entry.

         10.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

         11.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

                                         END OF ORDER

Order prepared and submitted by:

WARNER NORCROSS + JUDD LLP
Elisabeth M. Von Eitzen (P70183)
1500 Warner Building
150 Ottawa Avenue, NW
Telephone: (616) 752-2418
Facsimile: (616) 222-2418
evoneitzen@wnj.com
Counsel for Debtor
20427497-2
Case:20-01947-jwb   Doc #:199-3 Filed: 07/24/2020   Page 4 of 5




                         EXHIBIT A

                       (Rejected Leases)
            Case:20-01947-jwb   Doc #:199-3 Filed: 07/24/2020         Page 5 of 5




  UNEXPIRED NON-RESIDENTIAL REAL PROPERTY LEASES TO BE
                       REJECTED

                                                                                    Rejection
   Non-Debtor                               Debtor Lessee       Leased Premises
                    Notice Address(es)                                              Effective
  Counterparty                               (Guarantor)           Address
                                                                                      Date
                                           HopCat-
 1064 Bardstown    1510 16th Avenue                          1064 Bardstown
                                           Louisville, LLC                           July 31,
 LLC               South, Nashville,                         Road, Louisville,
                                           (Barfly Ventures,                          2020
                   Tennessee 37212                           Kentucky 40204
                                           LLC)

                   Ionia Retail, LLC                            58 Ionia Avenue,
 Ionia Retail,     44 Grandville Avenue,   Luck of the Irish,   SW, Grand            July 31,
 LLC               SW #001, Grand          LLC (Barfly          Rapids, Michigan      2020
                   Rapids, Michigan        Ventures, LLC)       49503
                   49503




DOCS_DE:227859.3
